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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA


UNITED STATES OF AMERICA,                             )
                                                      )      CRIMINAL NO. 1:20-cr-0010
                 v.                                   )
                                                      )      GOVERNMENT’S RESPONSE
ANGELA DEE GARGES,                                    )      TO DEFENDANT’S MOTION
                                                      )      TO SUPPRESS
                 Defendant.                           )


       COMES NOW the United States of America, by and through undersigned counsel, and

hereby files this resistance to the defendant’s motion to suppress the evidence filed at Docket 37.

       FACTS

       The government believes that the evidence will show the following:

       On January 29, 2020 at approximately 7:43 a.m., several Council Bluffs Police Officers

went to Best Western Inn, 2216 27th Ave in Council Bluffs, Iowa in attempt to locate Jason

Allen Byers. Byers had a valid felony arrest warrant through Douglas County, Nebraska for

False Imprisonment 1st Degree. An Omaha Police Fugitive Officer received a crime stopper's

tip, from an anonymous source, stating Byers was in a motel room at the Best Western Inn with

the defendant.

       An employee of Best Western confirmed the defendant was currently registered to room

#246; she had arrived on January 27, 2020 and was schedule to depart on January 29, 2020.

Officers went to room #246 and knocked and announced their presence. The defendant answered

the door and confirmed Byers was inside the room. The defendant stepped out of the room at

the request of the officer and told the police that an infant was inside the room, sleeping on one

of the beds.

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       Officers next spoke with Byers who came out of the room, he was handcuffed, and place

under arrested on the warrant.

       Officers then went into the room to perform a safety sweep to make sure no other people

were in the room as well as a welfare check of the infant. Officers saw in plain view items of

drug paraphernalia. A glass pipe commonly used for smoking methamphetamine was lying on

the counter next to the sink, a glass tray with white residue and blue straws was sitting on the

back of the toilet. A 10 month old baby was lying alone on the bed. Once the sweep was

complete, the defendant came back in the room to care for the infant. The offices contacted the

Southwest Iowa Narcotic Task Force, who responded to the scene. The detective arrived at

approximately 8:30 a.m. and Miranda Rights were read to the defendant. The detective was

aware that the defendant was at a residence a few days prior where over a pound of

methamphetamine was seized. The defendant made statements that she was in possession of

methamphetamine and paraphernalia in the motel room. The detective next met with Byers at 9:05

a.m. and advise him of his Miranda Rights. The child’s mother arrived at the motel at

approximately 9:30 a.m. Then at approximately 9:52 a.m. the detective was notified by another officer

that the search warrant for the motel room and car had been signed. A search warrant was

executed and methamphetamine was located in the hotel room.

       ARGUMENT

       The defendant asserts that an unlawful sweep was performed prior to obtaining the search

warrant and the evidence obtained through the search warrant and any statements made are fruit

of the poisonous tree and should be suppressed. The government asserts that no unlawful search

of the motel room was performed. The government further asserts that the officers had authority


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to conduct a protective sweep to check on the infant that the defendant told officers was in the

room and assure the safety of the officers and the infant by making sure no other people were

present in the room. As the officers passed through the threshold of the motel room, the drug

paraphernalia was in plain view during a lawful protective sweep. The observation of the drug

paraphernalia, along with the statements made by the defendant prior to the search but after being

advised of Miranda warnings provided probable cause for the issuance of the search warrant.

Based on the above facts, none of the evidence or statements obtained in executing the search

warrant should be suppressed.

I. There were Exigent Circumstances Sufficient to do a Protective Sweep for the Safety of

Officers and Others.

       The basis for the “protective sweep” warrant exception was explained by the Supreme

Court in Maryland v. Buie, stating, if the searching officer possesse[d] a reasonable belief based

on specific and articulable facts which, taken together with the rational inferences from those

facts, reasonably warrant[ed] the officer in believing that the area swept harbored an individual

posing a danger to the officer or others.” Maryland v. Buie, 494 U.S. 325, 327 (1990). When

officers make an arrest outside a suspect's home, if the officers have a reasonable belief based on

specific and articulable facts that someone who poses a danger to the officers remains in the

home, officers may lawfully perform a sweep of the residence for officer safety. See, United

States v. Brown, 217 F.3d 605, 607 (8th Cir. 2000); United States v. Vance, 53 F.3d 220, 222

(8th Cir. 1995)(finding entry into house following defendant's surrender to police outside

permissible). The Eighth Circuit has applied this principle to cases where a defendant has been

arrested in his yard and police have swept adjacent buildings or the residence for other persons.


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See, United States v. Davis, 471 F.3d 938, 944 (8th Cir. 2006) (holding sweep of residence and

adjacent barn permissible). Further, the basis for doing a protective sweep is a reasonable

probability that other persons may be present on the premises who pose a danger to the officers.

See, United States v. Jones, 193 F.3d 948, 950 (8th Cir. 1999); Brown, 217 F.3d at 607. “The

analysis of whether this exception to the warrant requirement has been made out is an objective

one ‘focusing on what a reasonable, experienced police officer would believe’.” United States v.

Amburn, 412 F.3d 909, 915 (8th Cir. 2005)(quoting, United States v. Kuenstler, 325 F.3d 1015,

1021 (8th Cir. 2003)). The Court uses a totality of the circumstances analysis to determine

whether a protective sweep was permissible, namely, considering whether there were

“articulable facts resulting in rational inferences that created reasonable suspicion that

accomplices could pose a threat to the safety of the arresting officers.” United States v. Davis,

471 F.3d at 945.

       In this case, the arrest of Byers occurred right outside the motel room door after emerging

from the motel room. Byers had an active felony warrant for felony false imprisonment and the

officers knew Byers to be dangerous from previous dealings. The defendant repeatedly told

police there was an infant still in the motel room. The officers did not know if anyone else was

in the room with the infant or the safety of the child at that time. The officers were justified in

entering the motel room to do a protective sweep for any additional people as well as to check on

the safety of the child. The protective sweep was quick and primarily focused on the safety of the

infant as well as the officers. (See United States v. Villanueva, No. 5:17-CR-50049-JLV, 2019

WL 2931559 (United States District Court, D. South Dakota, Western Division. 02/08/2019)).




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II. The defendant’s statements were made after being advised of Miranda Warning.

       Officers contacted the Vice unit and one of the detectives arrived on scene and read the

defendant her Miranda warnings prior to the search warrant being signed or executed. “An

individual's waiver of the Fifth Amendment privilege against self-incrimination ... is valid if

made voluntarily, knowingly and intelligently.” United States v. Harper, 466 F.3d 634, 643 (8th

Cir. 2006). The Court should look to the totality of the circumstances “[w]hen determining the

voluntariness of a confession.” United States v. Hyles, 479 F.3d 958, 966 (8th Cir. 2007).

The defendant admitted there may be drugs or drug paraphernalia in the room. The detective

was also aware that the defendant was at the residence of the codefendant Gantt when his home

was searched and in possession of a large amount of methamphetamine. The statements of the

defendant alone provide probable cause for the officers to search the motel room. The

defendant’s post Miranda statements were validly obtained. Additionally, even if the court

determines the officers should not have conducted a protective sweep of the room, the defendant

still made admissions to law enforcement that provided probable cause to search the motel room.

III. The officers would have located the evidence through inevitable discovery.

       Even if the Court determines that the officers should not have entered the room, it does not

decide the question of whether the evidence seized from the room should be suppressed.

“Suppression is not an automatic consequence of a Fourth Amendment violation. Instead, the

question turns on the culpability of the police and the potential of exclusion to deter wrongful

police conduct.” Herring v. United States, 555 U.S. 135, 137, (2009). The exclusionary rule has

been described as an “extreme sanction”. See, United States v. Leon, 468 U.S. 897, 916, (1984). It

is also of importance that the exclusionary rule is “calculated to prevent, not repair. Its purpose is


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to deter—to compel respect for the constitutional guaranty in the only effectively available way—

by removing the incentive to disregard it.” Elkins v. United States, 364 U.S. 206, 217 (1960).

       Clearly, suppression does not accomplish the purpose of respect for a “constitutional

guaranty”. The officers went to the room to serve an arrest warrant. They gained nothing of

evidentiary value from entering the room that they had not obtained when they spoke with the

defendant after being advised of her Miranda warnings. By entering the room, the officers did

satisfy themselves that there was no one else in the room that was a safety hazard as well as

checking on the safety of an infant. Even if determined to be improper, the entering of the motel

room to secure it but doing nothing more, hardly warrants the extreme sanction of suppression.

       The evidence also should not be suppressed because it would have been “inevitably

discovered” and seized by law enforcement anyway. As an exception to the suppression of

evidence, the inevitable discovery doctrine provides that the government must show by a

preponderance of the evidence that; “(1) there is a reasonable probability the evidence would have

been discovered by lawful means in the absence of police misconduct, and (2) the government was

actively pursuing a substantial, alternative line of investigation at the time of the constitutional

violation”. United States v. Thomas, 524 F.3d 855, 858 (8th Cir. 2008).

        The reality is that the defendant only knew the first name of the infant, only knew the first

name of the mother, and did not have contact information for the mother. Additionally the infant

was in a motel room with Byers who they knew to be violent. The police officers would not have

left the child under these circumstances and in fact didn’t, the infant was taken into protective

custody while the mother was located.

        “Probable cause requires that the circumstances set forth in an affidavit supporting an


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application for a search warrant demonstrate a ‘fair probability that contraband or evidence of a

crime will be found in a particular place.’ ” United States v. Tyler, 238 F.3d 1036, 1038 (8th Cir.

2001) (quoting, Illinois v. Gates, 462 U.S. 213, 238 (1983)). Even without any of the information

provided by the officers that did a sweep of the room, the defendant made statements that

constituted probable cause.

       There is no basis to suppress the evidence, even if this Court determines that the officers

should not have entered the room, because the statement of the defendant supported a probable

cause finding.

       CONCLUSION

       The defendant has failed to establish any grounds for suppression of the evidence seized

from room #246 on January 29, 2020. The officers were attempting to locate a person that had a

valid felony arrest warrant. Even if it was improper for the officers to enter into room #246 to be

sure there was no one present, nothing was seized. Additionally, the defendant made statements

that there may be drugs and paraphernalia in the hotel room. The evidence would have been

seized by law enforcement had the officers never entered the room. For the foregoing reasons, the

motion to suppress should be denied.

                                                     Respectfully submitted,

                                                     Marc Krickbaum
                                                     United States Attorney

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CERTIFICATE OF SERVICE

I hereby certify that on April 27, 2020, I
electronically filed the foregoing with the
Clerk of Court using the CM ECF system. I hereby
certify that a copy of this document was served
on the parties or attorneys of record by:

      U.S. Mail      Fax      Hand Delivery

 X ECF/Electronic filing       Other means

UNITED STATES ATTORNEY

By:    /s/PAC
         Paralegal




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